Case 2:16-cr-00403-GRB-SIL          Document 2650            Filed 07/10/24   Page 1 of 2 PageID #:
                                           21769                                              FILED
                                                                                              CLERK
                                                                                    2:11 pm, Jul 10, 2024
                                                                                        U.S. DISTRICT COURT
                                                                                   EASTERN DISTRICT OF NEW YORK
                                      CRIMINAL MINUTE ORDER                             LONG ISLAND OFFICE

 BEFORE JUDGE: BROWN, USDJ                                             DATE: 7/10/2024 (1hr. 20 min)
 DOCKET No. CR-16-403

 DEFENDANT: Alexi Saenz          DEF. #
 Present in custody


 DEFENSE COUNSEL: Natalie Todd, Victor Abreu, Pater Williams
 CJA Appointment


 A.U.S.A.:    Paul Scotti, Justina Geraci, Megan Farrell,
 INTERPRETER: [Maya Gray and Marcia Gotler] -- [Spanish] sworn
 PROBATION OFFICER/PRETRIAL: Choose an item.
 COURT REPORTER/FTR LOG: Paul Lombardi                                         DEPUTY: KM

 ☐      Allocution
 ☐      Arraignment
 ☒      Change of Plea Hearing (~Util-Plea Entered) ☐      Initial Appearance
 ☐      Telephone Conference                        ☐      Detention hearing
 ☐      Bond hearing
 ☐      Motion Hearing Non Evidentiary              ☒      Plea Agreement Hearing
 ☐      Other Evidentiary Hearing Contested TYPE OF HEARING____________________________

 Do these minutes contain ruling(s) on motion(s)?      ☐        YES            ☒        NO

 ☒      Case called.
 ☒      Counsel for all sides present.
 ☒      Defendant is informed of his/her rights.
 ☐      Choose an item..
                ☐Pursuant to Federal Rule of Criminal Procedure 5(f), the court confirmed the
                 Government’s disclosure obligations under Brady v. Maryland, 373 U.S. 83 (1963), and
                its progeny, and summarized the possible consequences of violating those obligations.
                Written order to be docketed separately.

 ☐      Defendant waives public reading.

 ☒      Defendant is sworn to his statements.

 ☒      Defendant is questioned as to whether s/he has read and understands the charging instrument
        and the plea agreement. Defendant has.

 ☐      Defendant waives indictment, a waiver is executed.
     Case 2:16-cr-00403-GRB-SIL              Document 2650           Filed 07/10/24    Page 2 of 2 PageID #:
                                                    21770



       ☒       Defendant withdraws previous plea of not guilty and enters a plea of guilty to count 1 and 38
       of the 8th Superseding Indictment.

       ☒       The defendant explains the offense committed; the Government offers the proof they would
               present to the Court during trial.

☒              The Court finds a factual basis for the plea and accepts it.

☒              Probation notified.
☐              Sentence held in abeyance.
☒              Sentencing date set for 1/31/2025 at 10:00 a.m.
☐      Government moves for Choose an item., argument heard.
☐      Choose an item.:
               ☐        Ruling:
                        ☐       Order setting conditions of bond executed.
                        ☐       Detention Order executed.
                                        ☐       Permanent.
                                        ☐       Temporary: Hearing set for Click or tap to enter a date.
☐      Defendant Choose an item.
☐      Transcript of these proceedings ordered sealed. The transcript may be provided for use by counsel in this matter
only.
☒     OTHER: Court ex. 1 – 7/2/2024 propose plea agreement and email, ct. 2 7/10/2024 proposed plea agreement
and email. Ct. 3 Plea Agreement signed, marked.
☒     Defendant continued: ☒ in custody         ☐ on bond
